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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA



CAMERON CREIGHTON, MYRON                              CIVIL ACTION NO.
BREAUD, AND KRISTEN BOYD

                                                      SECTION:
VERSUS

                                                      MAGISTRATE
OTIS JEFFERSON, OAKLEY TRUCKING,
LLC, AND PROTECTIVE INSURANCE
COMPANY


                                    NOTICE OF REMOVAL

       NOW INTO COURT, through undersigned counsel, come Defendants, Oakley Trucking,

Inc. (improperly identified as “Oakley Trucking, LLC”) and Otis Jefferson, who file this Notice

for Removal pursuant to 28 U.S.C. §1332 and 1441, to hereby remove this matter from state

court to the docket of this Honorable Court, and respectfully represents the following:

                                         BACKGROUND

                                                I.

       Cameron Creighton, Myron Breaud, and Kristen Boyd, Plaintiffs herein, filed a lawsuit

styled Cameron Creighton, Myron Breaud, and Kristen Boyd vs. Otis Jefferson, Oakley

Trucking, LLC, and Protective Insurance Company in Orleans Parish Civil District Court for the

Parish of Orleans, State of Louisiana, No. 2018-9826, Division G, against Oakley Trucking, Inc.

(improperly identified as “Oakley Trucking, LLC”), Otis Jefferson, and Protective Insurance

Company. The suit seeks damages for physical pain and suffering, mental pain and suffering,

medical expenses, loss of wages, loss of earning capacity, and permanent disability for Plaintiffs’
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alleged injuries sustained in an automobile collision occurring in Orleans Parish, Louisiana on

December 13, 2018. (See Petition for Damages attached as Exhibit “1”).

                                                  II.

        The state court action commenced on October 1, 2018. Oakley Trucking, Inc. and Otis

Jefferson both received notice on or after October 26, 2018. Therefore, removal is timely under

28 U.S.C. § 1446(B)(1)-(3).

                                        BASIS OF REMOVAL

                                                  III.

        This suit is removable to this Court under and by virtue of the federal statutes and acts of

the Congress of the United States, including 28 U.S.C. § 1332 and 28 U.S.C. § 1441, which

provide federal district courts with original jurisdiction in cases where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs, and is between citizens of

different states.

                                                  IV.

        Oakley Trucking, Inc. is incorporated in the State of Arkansas with its principal place of

business in the State of Arkansas.

                                                  V.

        Protective Insurance Company is incorporated in the State of Indiana with its principal

place of business in the State of Indiana.

                                                  VI.

        Otis Jefferson is a citizen of the State of Mississippi.




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                                               VII.

       Cameron Creighton is a citizen of the State of Louisiana.

                                               VIII.

       Myron Breaud is a citizen of the State of Louisiana.

                                                IX.

       Kristen Boyd is a citizen of the State of Louisiana.

                                                X.

       Because Plaintiffs are citizens of the State of Louisiana and all Defendants are citizens of

states other than Louisiana, complete diversity of citizenship exists among the parties.

                                                XI.

       Under United States Fifth Circuit Court of Appeals precedent, a defendant may establish

that the amount in controversy exceeds $75,000 by either demonstrating that it is facially

apparent from the petition that the claim likely exceeds $75,000, or by setting forth the facts in

controversy that support a finding of the requisite amount. Grant v. Chevron Phillips Chem. Co.,

309 F.3d 864, 868 (5th Cir. 2002).

                                               XII.

       If a defendant can show by a preponderance of the evidence that the amount in

controversy exceeds the jurisdictional amount, the “plaintiff can defeat diversity jurisdiction only

by showing to a ‘legal certainty’ that the amount in controversy does not exceed $75,000.”

Grant v. Chevron Phillips Chem. Co., 309 F.3d 864, 869 (5th Cir. 2002) (quoting De Aguilar v.

Boeing Co., 47 F.3d 1404, 1412 (5th Cir. 1995)).




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                                                XIII.

        Since Article 893 of the Louisiana Code of Civil Procedure prohibits a plaintiff from

pleading a specific dollar amount of damages, no specific dollar amount is provided in the

Plaintiffs’ Petition. For purposes of removal, however, it is facially apparent from the Petition

that the amount in controversy exceeds $75,000, exclusive of interest and costs.

                                                XIV.

        In the Petition, for example, Plaintiffs assert that a vehicle operated by defendant Otis

Jefferson, “suddenly and without warning, slammed into the driver’s side of [Plaintiffs’]

vehicle.” The Petition further alleges that as a result, the Plaintiffs suffered “severe and disabling

injuries.” (See Petition for Damages, ¶¶ 3 & 6, attached as Exhibit “1”)

                                                XV.

        Based on these allegations, Plaintiffs seek to recover the following damages:

        a.     Past and future physical pain and suffering;

        e.     Past and future mental pain and suffering;

        c.     Medical expenses

        d.     Past and future loss of earnings and earning capacity; and

        f.     Permanent disability to the body.

Id. at ¶ 2.

                                                XVI.

        Based on the allegations of Plaintiffs’ Petition for Damages, it is facially apparent that the

amount in controversy exceeds $75,000, exclusive of interest and costs, for this Court to assume

jurisdiction over this matter under 28 U.S.C. § 1332.




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                                               XVII.

        Defendants do not admit the underlying facts alleged by Plaintiffs and deny liability to

Plaintiffs.

                                   REMOVAL PROCEDURE

                                              XVIII.

        All defendants who have been properly served with Plaintiffs’ petition affirmatively

consent to the removal of this action. See Lewis v. Rego Co., 757 F.2d 66, 68 (observing that

notice of removal filed before all non-resident defendants served with process still effective).

                                               XIX.

        This Notice of Removal is filed within 30 days of the receipt by or service upon the

defendant of a copy of the initial pleading setting forth the claim for relief upon which the action

or proceeding is based.

                                                XX.

        The state court action was commenced on October 1, 2018 and this removal has been

filed within one (1) year after its commencement.

                                               XXI.

        Venue is proper within the Eastern District of Louisiana because the matter is being

removed from Division G of Orleans Parish Civil District Court—a court which the Eastern

District of Louisiana embraces, and more specifically:

               The Honorable Robin M. Giarrusso
               Orleans Parish Civil District Court
               Division G-11
               421 Loyola Ave.
               New Orleans, Louisiana 70112
               Phone: (504) 407-0260
               Facsimile: (504) 592-9345




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                                              XXII.

         Under 28 U.S.C. § 1446(d), the movers affirm that they will give written notice of this

removal to all adverse parties and will file a copy of the Notice with Orleans Parish Civil District

Court.

                                              XXIII.

         Pursuant to 28 U.S.C. § 1447(b) and LR 3.2, movers identify all known counsel as

follows:

   a. Counsel for Plaintiffs– Cameron Creighton, Myron Breaud, and Kristen Boyd
      Eric A. Wright (#26149)
      201 St. Charles Avenue, Suite 3206
      New Orleans, Louisiana 70170
      Telephone: (504) 525-5025
      Fax: (504) 324-0445

   b. Counsel for Defendants—Oakley Trucking, Inc., Protective Insurance Company, and Otis
      Jefferson
      Andrea L. Albert (#27353)
      Ryan D. O’Connor (#35272)
      Galloway, Johnson, Tompkins, Burr & Smith
      #3 Sanctuary Boulevard, Third Floor
      Mandeville, Louisiana 70471
      Phone: (985) 674-6680
      Facsimile: (985) 674-6681

                                              XXIV.

         Further pursuant to 28 U.S.C. § 1447(b) and LR 3.2, movers attach a copy all state court

pleadings, including any answers, along with the return of service of process filed in state court

so far. See Exhibit “1.”

                                              XXV.

         Pursuant to Rule 11 of the Federal Rules of Civil Procedure, undersigned counsel

certifies that she has read the foregoing Notice of Removal. She likewise certifies that to the best

of her knowledge, information, and belief formed after reasonable inquiry, the Notice is well-



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grounded in fact and is warranted by existing law or good faith argument for the extension,

modification, or reversal of existing law, and that it is not interposed for any improper purpose.

       WHEREFORE, Defendants, Oakley Trucking, Inc. and Otis Jefferson, pray that this

Notice be accepted as good and sufficient, and that this civil action be removed from Orleans

Parish Civil District Court Parish of Orleans, State of Louisiana, to the docket of this Honorable

Court for trial and determination as provided by law, and that this Court enter such Orders and

issue such process as may be proper, including copies of records and proceedings of the action

from the Orleans Parish Civil District Court for the Parish of Orleans, State of Louisiana, and

then proceed with the civil action as if it had been originally commenced in this Court.

                                              Respectfully submitted,

                                               /s/ Andrea L. Albert_________________
                                              ANDREA L. ALBERT (#27353)
                                              RYAN D. O’CONNOR (#35272)
                                              GALLOWAY, JOHNSON, TOMPKINS,
                                                 BURR & SMITH
                                              #3 Sanctuary Boulevard, Third Floor
                                              Mandeville, Louisiana 70448
                                              Telephone: (985) 674-6680
                                              Facsimile: (504) 674-6681
                                              Attorneys for Oakley Trucking, Inc., Protective
                                              Insurance Company, and Otis Jefferson

                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of October, 2018 a copy of the foregoing pleading

has been served on all parties or their attorneys in a manner authorized by FRCP 5(b)(2) or via

the court’s CM/ECF system.

                                              /s/ Andrea L. Albert_________________
                                              ANDREA L. ALBERT




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